Case 14-01233-jw        Doc 60     Filed 08/22/18 Entered 08/22/18 13:55:33             Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

 IN RE:                                         )   CASE NO.: 14-01233-jw
                                                )   Chapter 13
 Abbie L. Connelly, Michael L. Connelly,        )
                                                )
 Debtor(s)                                      )
                                                )
                                                )
                                                )


                          Order Granting Relief from the Automatic Stay
The relief set forth on the following pages, for a total of two pages including this page, is hereby
ORDERED.




 FILED BY THE COURT
     08/22/2018




                                                     US Bankruptcy Judge
                                                     District of South Carolina



   Entered: 08/22/2018
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                                                   ORDER GRANTING RELIEF FROM THE
 Debtor(s)                                     )
                                               )   AUTOMATIC STAY
                                               )
                                               )


        This matter comes before the Court pursuant to the motion of U.S. Bank National
Association, not in its individual capacity but solely as Trustee of NRZ Pass-Through Trust IX
(“Movant”), which seeks relief from the automatic stay in this case. According to the affidavit of
Movant, no objection to the requested relief was filed by Debtor(s) or the Trustee, or any
objections filed were subsequently withdrawn. It appearing that the motion should be granted, it
is therefore;
        ORDERED that relief from the automatic stay is granted as to the property described as
121 Oakdale Dr, Summerville, SC 29483 and that Movant may proceed with its state court
remedies against the property, including sending any required notice to Debtor(s). The Movant
has agreed to waive any claim arising under 11 U.S.C. § 503(b) or § 507(b) as a result of this
Order, and has further agreed that any funds realized in excess of all liens, costs, and expenses
will be paid to the Trustee;
       IT IS FURTHER ORDERED that:
   [x] Based upon Debtor(s)’ failure to object to Movant’s request regarding the Fed. R. Bankr.
       P. 4001(a)(3) stay, this order is effective immediately.
   [ ] Pursuant to Fed. R. Bankr. P. 4001(a)(3), this order is stayed until the expiration of 14
      days after its entry.
AND IT IS SO ORDERED.
